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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 THOMSON REUTERS ENTERPRISE                    )
 CENTRE GMBH and WEST PUBLISHING               )
 CORPORATION,                                  )
                                               )
                        Plaintiffs,            )
                                               )
        v.                                     )   C.A. No. 20-613 (LPS)
                                               )
 ROSS INTELLIGENCE INC.,                       )
                                               )
                        Defendant.             )

                                  MOTION AND ORDER
                              FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 83.5 and the attached certifications, counsel moves the admission

pro hac vice of Daniel E. Laytin, Christa C. Cottrell, and Cameron Ginder of KIRKLAND & ELLIS

LLP to represent plaintiffs Thomson Reuters Enterprise Center GmbH and West Publishing

Corporation in this matter.


                                                MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                /s/ Michael J. Flynn

                                                Jack B. Blumenfeld (#1014)
                                                Michael J. Flynn (#5333)
                                                1201 North Market Street
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                                                Attorneys for Plaintiffs Thomson Reuters
                                                Enterprise Center GmbH and West Publishing
                                                Corporation
March 25, 2021
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                               ORDER GRANTING MOTION

       IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice of Daniel E.

Laytin, Christa C. Cottrell, and Cameron Ginder is granted.



Dated: ______________________
                                                              United States District Judge
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          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of Illinois and

pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged

misconduct which occurs in the preparation or course of this action. I also certify that I am

generally familiar with this Court’s Local Rules. In accordance with Standing Order for District

Court Fund effective 9/1/16, I further certify that the annual fee of $25.00 has been paid   to the

Clerk of Court, or, if not paid previously, the fee payment will be submitted        to the Clerk’s

Office upon the filing of this motion.



Date: March 17, 2021                          /s/ Daniel E. Laytin
                                              Daniel E. Laytin
                                              KIRKLAND & ELLIS LLP
                                              300 North LaSalle
                                              Chicago, IL 60654
                                              (312) 862-2000
 Case 1:20-cv-00613-LPS Document 29 Filed 03/25/21 Page 4 of 6 PageID #: 952




          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of Illinois and

pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged

misconduct which occurs in the preparation or course of this action. I also certify that I am

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Court Fund effective 9/1/16, I further certify that the annual fee of $25.00 has been paid   to the

Clerk of Court, or, if not paid previously, the fee payment will be submitted        to the Clerk’s

Office upon the filing of this motion.



Date: March 17, 2021                          /s/ Christa C. Cottrell
                                              Christa C. Cottrell
                                              KIRKLAND & ELLIS LLP
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                                              Chicago, IL 60654
                                              (312) 862-2000
 Case 1:20-cv-00613-LPS Document 29 Filed 03/25/21 Page 5 of 6 PageID #: 953




          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

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pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged

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Clerk of Court, or, if not paid previously, the fee payment will be submitted        to the Clerk’s

Office upon the filing of this motion.



Date: March 17, 2021                          /s/ Cameron Ginder
                                              Cameron Ginder
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                                              300 North LaSalle
                                              Chicago, IL 60654
                                              (312) 862-2000
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 25, 2021, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on March 25,

2021, upon the following in the manner indicated:

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 Attorneys for Defendant


                                            /s/ Michael J. Flynn
                                            __________________________
                                            Michael J. Flynn (#5333)
